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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

  UNITED STATES OF AMERICA,                  CR-16-19-GF-BMM

                         Plaintiff,

             vs.                             ORDER

  ENCORE SERVICES, LLC,

                         Defendant.



      Upon the motion of the United States, and for good cause shown,

      IT IS ORDERED that Counts II-IV of the Second Superseding Indictment, the

Superseding Indictment, and the Indictment against Encore Services, LLC, are

dismissed.

      DATED this 28th day of August, 2017.
